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February 4, 2022


VIA ECF
The Honorable Michael J. Davis
Senior Judge, United States District Court
United States District Court, District of Minnesota
300 South Fourth Street
Minneapolis, MN 55415

      Re:     United States ex rel. Laurie Simpson v. Bayer, 08-cv-5758-MJD-ECW
              Status Report

Dear Judge Davis:
        We write with a status report on the resolution in principle reached in the above-
referenced False Claims Act qui tam action transferred to the Baycol multi-district
litigation proceeding in 2008 (the “Minnesota action”). The parties have made significant
progress toward resolving this matter since the last update to the Court.
       By way of background, Plaintiff-Relator Laurie Simpson has another qui tam action
pending in the District of New Jersey captioned United States ex rel. Laurie Simpson v.
Bayer Pharmaceutical Corp., Bayer Corporation, and Bayer A.G., Case No. 05-cv-3895
(D.N.J.) (the “New Jersey action”). The New Jersey action does not involve Baycol, but
involves two other drugs – Trasylol and Avelox. The agreement would resolve both the
Minnesota and New Jersey actions. While a combined resolution of the two cases is
beneficial, it has taken some time to iron out the details given various complexities
presented in the two cases.
       The current status is as follows:
       • A federal False Claims Act settlement agreement encompassing both the
         Minnesota and New Jersey actions has been drafted and is nearing finalization,
         with input provided by all parties;
       • An agreement, subject to formal Department approval, on the relator’s share of
         the combined federal settlement amount from both actions has been reached
         between the United States and Plaintiff-Relator;
       • The parties are working with a team from the National Association of Medicaid
         Fraud Control Units (“NAMFCU”) to handle the state portion of the settlement
         in the New Jersey action involving state Medicaid amounts. In the New Jersey
         action, Ms. Simpson brought claims on behalf of 21 states, as well as the United
         States. Those claims are being resolved alongside those of the federal
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         government. The NAMFCU and Defendants have agreed on a protocol for
         doing so, and that process is moving forward on a parallel track.
       • The proposed resolution will not resolve the issue of statutory attorneys’ fees,
         costs, and expenses under the False Claims Act in either action. This issue was
         the subject of unsuccessful mediation. Plaintiff-Relator intends to file fee
         petitions in both matters; Bayer intends to contest those applications.
       • The proposed resolution is subject to Department of Justice and Bayer Board
         approvals, which will be sought once the settlement agreement is finalized.
        Pursuant to the federal settlement agreement, once Bayer makes the federal
settlement payment, the parties will file a joint stipulation of dismissal of this action,
reserving the issue of statutory attorneys’ fees, costs, and expenses in both matters. While
it is difficult to provide a firm date when that will occur, the parties hope to finalize the
federal settlement agreement and obtain the necessary approvals by April 2022. If all goes
as anticipated, we hope to file the joint stipulation of dismissal of this action by May 2022.
       As the parties have worked to move this matter to completion, a question has arisen
pertaining to the holdback provision in the MDL, and its applicability to the federal
settlement amount in the Minnesota action. See e.g., Pretrial Orders 25, 53, 166. The
parties are discussing that issue, but may need to seek clarification from the Court in a
separate filing.
       The parties propose to provide a further update to the Court by April 1, 2022. Thank
you for your consideration.



                                                  CHARLES J. KOVATS, JR.
                                                  Acting United States Attorney

                                                  s/ Ann M. Bildtsen

                                                  BY: ANN M. BILDTSEN
                                                  Assistant U.S. Attorney
                                                  Attorney ID Number 271494
                                                  600 United States Courthouse
                                                  300 South Fourth Street
                                                  Minneapolis, MN 55415
                                                  Phone: 612-664-5600
                                                  Email: Ann.Bildtsen@usdoj.gov
                                                  Attorneys for the United States
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                                         KESSLER TOPAZ
                                         MELTZER & CHECK, LLP

                                         s/ David Bocian Esquire
                                         David Bocian, Esquire
                                         Asher Alavi, Esquire
                                         280 King of Prussia Road
                                         Radnor, PA 19087
                                         Phone: 610-667-7706
                                         Email: DBocian@ktmc.com
                                         Email: AAlavi@ktmc.com
                                         Attorneys for Plaintiff-Relator



                                         /s/ Kristin Graham Koehler

                                         Kristin Graham Koehler
                                         kkoehler@sidley.com
                                         Jonathan F. Cohn
                                         jfcohn@sidley.com
                                         Jacquelyn E. Fradette
                                         Jfradette@sidley.com
                                         SIDLEY AUSTIN LLP
                                         1501 K Street NW
                                         Washington DC, 20005
                                         (Tele) 202-736-8000
                                         (Fax) 202-736-8711
                                         Attorneys for Defendants
